
51 So. 3d 1258 (2011)
Jessie C. WARD, Petitioner,
v.
STATE of Florida, Respondent.
No. 5D10-3937.
District Court of Appeal of Florida, Fifth District.
January 21, 2011.
Jessie Ward, Chipley, pro se.
Pamela Jo Bondi, Attorney General, Tallahassee, and Wesley Heidt, Assistant Attorney General, Daytona Beach, for Respondent.
PER CURIAM.
The petition for belated appeal is granted. A copy of this opinion shall be filed with the trial court and be treated as the notice of appeal from the order on Petitioner's rule 3.850 motion rendered March 17, 2010, in Case No. 2006-CF-155, in the Circuit Court in and for Citrus County, Florida. See Fla. R.App. P. 9.141(c)(5)(D).
PETITION GRANTED.
TORPY, COHEN and JACOBUS, JJ., concur.
